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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: ASBESTOS PRODUCTS      :       Consolidated Under
LIABILITY LITIGATION (No. VI) :       MDL DOCKET NO. 875
                              :
HARRY VERNON                  :
                              :
v.                            :       E.D. Pa. Case No.
                              :       18-3902
ALLEN-BRADLEY CO., et al.     :



                               O R D E R

          AND NOW, this 1st day of May, 2019, it is hereby ORDERED

that the Court will hold a status and scheduling conference as

well as oral argument on Defendant Owens Illinois’ motion to

dismiss on Monday, June 24, 2019 at 10:00 a.m. in Courtroom 15A,

James A. Byrne United States Courthouse, 601 Market Street,

Philadelphia, Pennsylvania 19106.



          AND IT IS SO ORDERED.




                                      /s/ Eduardo Robreno
                                      EDUARDO C. ROBRENO, J.
